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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

PERSONALIZED MEDIA
COMMUNICATIONS, LLC,

            Plaintiff,                 Civil Action No. 2:19-cv-00091-JRG

v.

NETFLIX, INC.,

            Defendant.


                    NETFLIX’S MOTION TO DISMISS
       OR, IN THE ALTERNATIVE, TRANSFER FOR IMPROPER VENUE
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I.     Introduction

       This case does not belong in this district. Netflix, Inc. (“Netflix”) is a Delaware corporation

with a principal place of business in Los Gatos, California. Netflix has no offices or data centers

in this district. Netflix owns no property, leases no property, and employs no people in this district.

       For this reason, Plaintiff Personalized Media Communications, LLC (“PMC”) rests its

venue allegations entirely on certain computer equipment located in this district. PMC draws

support from this Court’s finding in SEVEN Networks that, where servers operating in this district

were both owned and physically controlled by a defendant, they could qualify as the defendant’s

“place of business” under § 1400(b).1 However, the servers used to serve Netflix content are

neither owned nor physically controlled by Netflix. To the contrary, Netflix

                                             the internet service providers (“ISPs”) who use them.

Netflix does not own, lease, or possess the property where those servers are located, the shelves

they sit on, or the servers themselves. As a result, under the approach this Court took in SEVEN

Networks, the Open Connect Appliances that form the exclusive basis for PMC’s venue allegations

do not qualify as a place of business of Netflix. To hold otherwise would vitiate the line between

physical and logical control that this Court articulated in SEVEN Networks, directly conflict with

the Federal Circuit’s holding in In re Cray,2 and vastly expand the scope of § 1400(b). The Court

should, therefore, dismiss this case for improper venue or, in the alternative, transfer it to the

Northern District of California.

II.    Key Facts

       Netflix is incorporated in Delaware and has its principal place of business in Northern

California. Dkt. No. 1 at ¶ 2. Netflix neither owns nor leases real estate in this district, has no

employees who reside in this district, and does not hold itself out as having offices in this district.

Declaration of Quynh Nguyen (“Nguyen Decl.”) ¶ 3.

       For this reason, Netflix’s content distribution network, which Netflix calls “Open

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   SEVEN Networks, LLC v. Google LLC, 315 F. Supp. 3d 933, 966-67 (E.D. Tex. 2018).
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   871 F.3d 1355 (Fed. Cir. 2017).


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Connect,” is the sole basis for PMC’s assertion that Netflix has a “regular and established place of

business” in this district. Dkt. No. 1 ¶ 12. By way of background, a content delivery network (or

“CDN”) is a network of servers that store digital content for further distribution.3 CDNs are helpful

because the network connections that make up the internet have limited bandwidth and, in some

cases, are expensive to use. Thus, for companies who distribute digital content, it is often more

efficient, and provides a better user experience, to cache data or content in a set of distributed

servers (closer to where that content will be consumed) than to store it in one or a few centralized

repositories.

        Historically, Netflix used third-party CDNs to deliver all of its content to end users.

However, starting in 2011, Netflix began to work on the development of Open Connect. See Dkt.

No. 1 at n.4 (https://media.netflix.com/en/company-blog/how-netflix-works-with-isps-around-

the-globe-to-deliver-a-great-viewing-experience). Open Connect has three major pieces.

        First, Netflix uses Amazon’s Web Services (“AWS”) to prepare content for a user, and to

provide the elements of the Netflix service up until the moment the user presses “play.” Id. This

distribution uses AWS in a way that is “generic” and “not unique to Netflix.”4 Id.

        Second, Netflix has data centers (called “Internet Exchange Points” or IXs), which it owns

or leases and which contain equipment owned by Netflix for the purpose of caching content for

delivery. Id. However, none of those data centers are located in this district. Nguyen Decl. ¶ 3.

        Third, Netflix gives hardware to third-party ISPs who may install and use it (and the

software it contains) to speed up the delivery of Netflix content to their subscribers. See Dkt. No.

1 at n.4 (https://media.netflix.com/en/company-blog/how-netflix-works-with-isps-around-the-

globe-to-deliver-a-great-viewing-experience). Under the transfer agreements,

                                                                             See Nguyen Decl. Ex. 1.
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   See generally https://en.wikipedia.org/wiki/Content_delivery_network
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  PMC does not appear to be alleging that this portion of Netflix’s distribution gives rise to venue. Nor
could it. See SEVEN Networks, 315 F. Supp. 3d at 951 n.27 (“an online business which utilizes Amazon’s
cloud web hosting solution on the terms offered by Amazon and without any physical equipment of its own
present within the data center would, undoubtedly, not be subject to proper venue under § 1400(b) in that
district.”) (emphasis in original).


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Indeed, the transfer agreements state that Netflix



Id. at Ex. 1 ¶ 1; see also id. Exs. 3, 5, 7, 9 ¶ 1.5




                                                                                                           See generally

id. Netflix also does not have any signs on any of the ISP’s buildings nor does it list those ISP

addresses as being Netflix locations. Id. ¶ 16.6

         And although the ISP must                                                                      , after expiration

of the term specified in the software license, the ISP maintains the right to

with the                    transferred hardware. Id. Exs. 1-10.

         All of the servers that Netflix has transferred to ISPs in this district were transferred under

the same basic terms, including                                                                               . Id. ¶ 14;

see id. Exs. 1-10 (specifying the same basic terms). This specifically includes the servers

transferred to Suddenlink, (including the server named “ipv4-c005-shv004-suddenlink-

isp.1.oca.nflxvideo.net”) discussed in Paragraph 10 of PMC’s complaint. Id. Ex. 1. As a result,

Netflix neither owns nor physically controls any servers located in this district.

         Additional facts relevant to § 1404(a) are discussed below in the context of that motion.

III.     Legal Authority

         A. Motion to Dismiss or Transfer For Improper Venue

         Under TC Heartland, § 1400(b) “‘is the sole and exclusive provision controlling venue in

patent infringement actions.’” TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S.Ct.

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  The Court should note that Netflix’s transfer agreements have been structured this way since at least 2012,
prior to the decision in TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514 (2017). Indeed,
all of the hardware transfer agreements between Netflix and the ISPs in this district predate the 2017
decision in TC Heartland. See Nguyen Decl. Exs. 1, 3, 5, 7 and 9.
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  The map included in Paragraph 9 of PMC’s complaint identifies those locations as being “ISP locations,”
not Netflix locations.                           See https://media.netflix.com/en/company-blog/how-netflix-works-with-isps-
around-the-globe-to-deliver-a-great-viewing-experience (explaining that they are “the residential Internet
Service Providers (ISPs) our members use to access the internet.”)


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1514, 1519 (2017) (quoting Fourco Glass Co. v. Transmirra Prods. Corp., 353 U.S. 222, 229

(1957)). Under § 1400(b), venue is proper only: (i) where the defendant “resides” (meaning its

state of incorporation) and (ii) where the defendant has a “regular and established place of

business” and acts of infringement occurred. Id. “[T]he Plaintiff bears the burden of establishing

proper venue.” In re ZTE (USA) Inc., 890 F.3d 1008, 1013 (Fed. Cir. 2018).

        In In re Cray, the Federal Circuit held that the place of business prong “cannot be read to

refer merely to a virtual space or to electronic communications from one person to another.” 871

F.3d at 1362. Rather, there must be a “physical, geographical location in the district from which

the business of the defendant is carried out.” Id. In SEVEN Networks, this Court found that, in

light of In re Cray, “it would run counter to the statutory requirements to find proper venue in a

district where there was no physical presence of a given defendant.” 315 F. Supp. 3d at 951

(emphasis in original). However, the Court found that venue existed under the facts of that case

because “Google exercises exclusive control over the physical server and the physical space within

which the server is located and maintained.” Id. (emphasis in original). The Court stressed the

importance of that physical control by contrasting it with Google’s control over “the digital aspects

of’ the relevant servers which, the Court found, “may well constitute ‘merely’ a ‘virtual space’

without more and, thus, not meet the statutory requirements.” Id. at 951 n.27. Under this holding,

venue is improper in this case, because Netflix does not own or physically control the servers on

which PMC has based its venue allegations.7


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  Netflix also respectfully notes that since the Federal Circuit concluded in In re Google LLC, No. 2018-
152, 2018 WL 5536478, at *3 (Fed. Cir. Oct. 29, 2018), that it was “appropriate” to allow the question of
venue based on servers in a district to further “percolate in the district courts,” several courts have concluded
that even ownership and physical control of servers do not give rise to venue. See, e.g., CUPP
Cybersecurity, LLC v. Symantec Corp., C.A. No. 3:18-CV-01554, 2019 WL 1070869, at *2-3 (N.D. Tex.
Jan. 16, 2019); accord Memorandum Opinion and Order at 3-4, BMC Software, Inc. v. Cherwell Software,
LLC, No. 1:17-cv-1074 (E.D. Va. Dec. 21, 2017), Dkt. No. 55. Netflix respectfully submits that CUPP and
BMC were correctly decided and that equipment should not be construed to constitute a “place” within the
language of the statute. However, as discussed further below, the Court should not need to resolve the
conflict between those cases and SEVEN Networks, because venue is improper as to Netflix under both
approaches.



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        B. Motion to Transfer for Inconvenient Venue

        Under 28 U.S.C. § 1404(a), “[f]or the convenience of parties and witnesses, in the interest

of justice, a district court may transfer any civil action to any other district or division where it

might have been brought . . . .” A threshold issue is whether the present action “might have been

brought” in the proposed transferee district. Adaptix, Inc. v. HTC Corp., 937 F. Supp. 2d 867, 871

(E.D. Tex. 2013). Once the movant makes that showing, “a motion to transfer venue should be

granted upon a showing that the transferee venue ‘is clearly more convenient’ than the venue

chosen by the plaintiff.” In re Genentech, Inc., 566 F.3d 1338, 1342 (Fed. Cir. 2009) (quoting In

re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc)). The district court has

discretion to transfer based on its analysis of public and private factors weighing for or against

transfer. See ATEN Int’l Co. v. Emine Tech. Co., 261 F.R.D. 112, 123 (E.D. Tex. 2009)

(enumerating the public and private factors).

        While the plaintiff’s choice of venue receives some deference, “Fifth Circuit precedent

clearly forbids treating the plaintiff’s choice of venue as a distinct factor in the § 1404(a) analysis.”

In re TS Tech USA Corp., 551 F.3d 1315, 1320 (Fed. Cir. 2008) (quoting Volkswagen, 545 F.3d at

315 n.10). The Federal Circuit has held that “in a case featuring most witnesses and evidence

closer to the transferee venue with few or no convenience factors favoring the venue chosen by

the plaintiff, the trial court should grant a motion to transfer.” In re Nintendo Co., 589 F.3d 1194,

1198 (Fed. Cir. 2009).

IV.     Argument

        A.      The Court Should Dismiss or Transfer This Case for Improper Venue

             a. Netflix Does Not “Reside” in the Eastern District of Texas

    Netflix is incorporated in Delaware,8 and therefore does not “reside” in this district within the

meaning of the first prong of § 1400(b). See SEVEN Networks, 315 F. Supp. 3d at 941 (“It is

undisputed that when this action was filed, Google was incorporated in Delaware and therefore

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   PMC has admitted this fact. See Dkt. No. 1 ¶ 2 (“Netflix is a Delaware corporation with its principal
office at 100 Winchester Circle, Los Gatos, CA 95032.”)


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‘resided’ in Delaware, not in Texas.”).

           b. Netflix Has Not Committed an Act of Infringement in This District

       For purposes of this motion, Netflix is not asking the Court to find improper venue based

on the “acts of infringement” requirement. However, Netflix does not concede that it has

committed any acts of infringement in this district, that any such act has been properly alleged, or

that any alleged acts have a nexus with an alleged place of business of Netflix.

           c. Netflix Has No “Regular and Established Place of Business” in This District

                    i. The Open Connect Servers Are Not Netflix’s “Places of Business”

       PMC’s venue allegations are based entirely upon the notion that Netflix’s “Open Connect”

satisfies the “regular and established place of business” requirement. Dkt. No. 1 ¶¶ 6-12. Not so.

       As an initial matter, the only “Open Connect” servers that reside within this district are the

ones that Netflix has transferred to ISPs in this district. Nguyen Decl. ¶ 14. As discussed above,

however,

                                                      Id. Ex. 7 ¶ 1; see also id. Exs. 1, 3, 5, 9 ¶ 1

                                              Among other things, this means that, unlike the GGC

servers at issue in SEVEN Networks, Netflix does not exercise “exclusive control over the physical

server and the physical space within which the server is located and maintained.” SEVEN

Networks, 315 F.Supp. 3d at 951 (emphasis in original). To the contrary,



              See generally Nguyen Decl. Exs. 1, 3, 5, 7, 9. A comparison between the facts the

Court found significant in SEVEN Networks and the facts at issue here demonstrates the contrast.9




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   For convenience, Netflix’s citations are to its agreement with Suddenlink – which is the same ISP the
Court used as exemplary in its analysis in SEVEN Networks.


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                                                           Netflix’s Transfer Of “Open Connect”
    Google’s Control Over GGC Servers                      Servers
    “Google requires ISPs such as Suddenlink to
    provide ‘[r]ack space, power, network interfaces,
    and IP addresses, as specified in the following table               See Nguyen Decl. Exs. 1,
    [omitted], in consultation with Google’; ‘[r]emote 3, 5, 7, 9.
    assistance and installation services described in Netflix does not provide ISPs with detailed
    SCHEDULE ‘A’’; ‘[n]etwork access between the implementation requirements. Id. Ex. 11.
    Equipment and Host network subscribers’; and
    ‘[r]emote high bandwidth access, sufficient for
    Google to download upgrade images of GGC to the
    Equipment, unless separate arrangements are
    agreed with Google.” SEVEN Networks, 315 F.
    Supp. 3d at 952.

    “The Suddenlink Agreement makes it clear that the
    ISP does not own the server(s); Google owns the                        Id. Exs. 1, 3, 5, 7, 9 ¶ 1.
    servers.” Id. (emphasis in original).

    The ISP must return the servers to Google if the
    contract is terminated, or pay Google for their fair
    market value. Id.                                                            . Id. Exs. 1-10.

    “Google is not even required to replace faulty
    servers under the Suddenlink Agreement.” Id.
                                                                             Id. Exs. 1, 3, 5, 7, 9 ¶ 3.

    “Following installation of the GGC server, the ISP
    is required to provide Google explicit details
    regarding Google’s server’s installation location.”         Id. Exs. 1-10 (no such provision).
    Id.                                                 The Deployment Guide makes it clear that
                                                        the receiving ISP may change the server’s
                                                        IP address on its own. Id. Ex. 11 at 14.

    “in order for an ISP to move a previously installed
    GGC from one location to a new location, it must                                             . See
    secure Google’s permission.” Id.                    id. Exs. 1, 3, 5, 7, 9 (no such provision).
                                                        The Deployment Guide says that the ISP has
                                                        “full control” over which networks are
                                                        served by the appliance. Id. Ex. 11 at 13.

    “tasks such as the ‘physical switching of a toggle
    switch;’ ‘power cycling equipment (turning power
    on and/or off);’ and ‘tightening screws, cable ties,
    or securing cabling to mechanical connections,                           Id. Exs. 1, 3, 5, 7, 9.
    plug;’ may be performed ‘only with specific and
    direct step-by-step instructions from Google.’” Id.
    at 953.




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       Based on the items on the left-hand side of this chart, the Court found that Google’s

“control in the physical world exemplifies how the physical presence of the GGC server within

this district constitutes more than ‘merely’ ‘a virtual space or [ ] electronic communications from

one person to another.’” SEVEN Networks, 315 F. Supp. 3d at 953 (citing In re Cray, 871 F.3d at

1362). The facts on the right-hand side of the chart lead to the opposite conclusion; Netflix has

neither ownership of nor physical control over any server within this district. Thus, even assuming

that servers may count as places of business, the Open Connect servers at issue in this motion are

not Netflix’s place of business under the approach set forth in SEVEN Networks.

       Any contrary finding would be inconsistent with, and highly expansive of, the venue

statute. As the Court recognized in SEVEN Networks, venue statutes must be strictly read in

conformity with their language. Schnell v. Peter Eckrich & Sons, Inc., 365 U.S. 260, 264 (1961)

(cited in SEVEN Networks, 315 F. Supp. 3d. at 938 n.1) (venue “is not one of those vague principles

which, in the interest of some overriding policy, is to be given a ‘liberal’ construction”); In re

BigCommerce, Inc., 890 F.3d 978, 985 (Fed. Cir. 2018) (cited in SEVEN Networks, 315 F. Supp.

3d. at 938 n.1) (“[w]e cannot ignore the requirements of the statute merely because different

requirements may be more suitable for a more modern business environment.”).

       The “Open Connect” servers that Netflix has transferred to ISPs in this district cannot

satisfy the statutory language requiring the challenged venue to contain a place of the defendant.

The servers (and the spaces in which they are deployed) are

                                                                             and the ISP may freely

alter both the server’s IP address and the end users it serves. Nguyen Decl. Exs. 1, 3, 5, 7, 9 and

11. For these reasons, the physical servers cannot be said to be Netflix’s. Put differently, to the

extent the servers qualify as “places” it is only as a result of their physical presence: a physical

presence over which

       Nor can PMC point to Netflix’s control over the licensed software to change this result.

To make such an argument PMC would have to argue that Netflix’s control over the logical

operation of the servers was sufficient to justify treating the physical servers as Netflix’s place of


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business. But this would vitiate the reasoning of SEVEN Networks and contradict the Federal

Circuit’s decision in In re Cray. In SEVEN Networks this Court noted that it was the distinction

between (on one hand) ownership and control over the physical server and (on the other) control

over a server’s logical operation that mitigated against the “concern expressed in Personal Audio

that ‘[m]aybe even every handheld device sold by Verizon would become a place of business for

Verizon because the end-user signed an agreement with Verizon regarding Verizon’s exclusive

control of the device.’” 315 F. Supp. 3d at 951 n.26. As the Court put it “[s]uch a holding could

not be supported by proper application of the law; proper reading of the statute, guided by In re

Cray.” Id. The same is true here.

            d. The Servers Are Not “Regular and Established” Places of Business of Netflix

        Even if the Court were to conclude that the “Open Connect” servers could be treated as

Netflix’s for purposes of the venue determination, those servers still would not satisfy the “regular

and established” requirement. See In re Cray, 871 F.3d at 1362-63 (a place of business is “regular

and established,” if the place where that business is carried out is “settle[d] certainly, or fix[ed]

permanently.”) (alterations in original). Indeed, in SEVEN Networks, the Court cited numerous

definitions of the word “place” to ground its analysis. 315 F. Supp. 3d at 939, nn.4-5. Each of

those definitions reflect the fact that “places” are both physical and fixed in space. See id. at n.5.

(e.g. “A particular portion of space, considered as separate and distinct from the rest of space; a

particular locality, spot, or site; position.”).

        The GGC server at issue in SEVEN Networks satisfied this requirement because “[o]nce

installed, it is considered a permanent fixture” because the ISP may not move it without Google’s

permission. Id. at 952. The opposite is true here: the hardware transfer agreements do not require

the receiving ISPs to install the servers in any specific location, do not prevent the receiving ISPs

from moving the servers, nor require them to seek advance permission from Netflix, or even give

notice of such a move. Nguyen Decl. Exs. 1, 3, 5, 7, 9. Indeed, Netflix’s Deployment Guide

makes it clear that because “traffic is only delivered from your embedded [Open Connect

Appliance] to the customer prefixes that you explicitly announce to them . . . you as the ISP partner


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have full control over the networks that the appliances will serve.” Nguyen Decl Ex. 11 (2018

Deployment Guide) at 13; see also id. at 14 (explaining how to change the device’s IP address).

Thus, the servers are not “settled certainly, or fixed permanently” in this district, much less by

Netflix. That is the exact opposite of the GGC server at issue in SEVEN Networks, where “the

control exerted over both the server and its location under the GGC agreements” led the Court to

conclude that the GGC servers satisfied the “regular and established” requirement. 315 F. Supp.

3d at 956 (emphasis added).

            e. Equipment Should Not Constitute a “Place” Under the Venue Statute

        Because Netflix neither owns nor physically controls the Open Connect servers at issue in

this motion, it should not be necessary to re-evaluate the ruling in SEVEN Networks in order to

find that venue is improper as to Netflix. However, to the extent the Court finds that the Open

Connect servers constitute Netflix’s “regular and established place of business” under SEVEN

Networks, the Court should reconsider its holding that equipment, such as servers, are “places”

within the meaning of § 1400(b).

        As an initial matter, the language of § 1400(b) is plain: the defendant must have a “place

of business” in the district, not merely a thing. Things and places are not the same, as the

dictionaries relied on in In re Cray make clear. “Place” means “‘[a] building or a part of a building

set apart for any purpose’ or ‘quarters of any kind.’” In re Cray, 871 F.3d at 1362 (quoting William

Dwight Whitney, The Century Dictionary 4520 (Benjamin E. Smith ed., 1911)).10 Conversely, a

“thing” is “any object, substance, attribute, idea.” Declaration of Clement S. Roberts (“Roberts

Decl.”) Decl. Ex. 3 (The Century Dictionary, supra, at 6291). The two concepts are different, and

they should not be given the same meaning.

        The difference between things and places is of particular importance in this context because

Congress focused on objects in the general civil venue provision. In that statute Congress

authorized suit wherever “a substantial part of [the] property that is the subject of the action is

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    The dictionaries cited by this Court in SEVEN Networks reflect the same distinction. See, e.g., Roberts
Decl. Exs. 1-2.


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situated.” 28 U.S.C. § 1391(b)(2) (emphasis added); see Department of Homeland Sec. v.

MacLean, 135 S. Ct. 913, 920-21 (2015) (Congress’s use of clear language in one statute suggests

it did not intend to convey the same meaning through “obscure” language in another.). Unlike

“place,” the ordinary meaning of “property” does include objects. See, e.g., Roberts Decl. Ex. 4

(The Century Dictionary, at 4777 (“chattels and land”)); Ex. 5 (Black’s Law Dictionary 1216 (6th

ed. 1990) (“lands or tenements, goods or chattels”)). And courts have interpreted § 1391 in line

with this understanding of “property.” See, e.g., Rimkus Consulting Grp., Inc. v. Balentine, 693

F. Supp. 2d 681, 689-90 (S.D. Tex. 2010); Power Paragon, Inc. v. Precision Tech. USA, Inc., 605

F. Supp. 2d 722, 727 (E.D. Va. 2008). The contrast between these two venue statutes shows that

when Congress referred to “places” in § 1400(b) it meant something other than “property.”

       The ruling in SEVEN Networks is also in substantial tension with In re Cray’s holding that

“place” means “a building,” “quarters,” or other “geographical location” – none of which describe

a piece of equipment itself, even if they may refer to the space in which that equipment is housed.

In re Cray, 871 F.3d at 1362. The holding in SEVEN Networks is likewise in tension with In re

Cordis Corp., 769 F.2d 733 (Fed. Cir. 1985). In re Cordis found that a sales representative’s home

office established a corporation’s “place of business” because, among other things, the

representatives “continually maintain a stock of its products within the district.” Id. at 737. The

presence of continuous inventory helped to show that the home office was a “place of business”

of the defendant. But the Federal Circuit never even considered the idea that the space occupied

by the inventory itself might constitute a “place of business.” That is, however, an essential tenet

of the Court’s holding in SEVEN Networks – i.e. that a GGC server may be said to be a “place”

because it is “a physical server occupying a physical space.” SEVEN Networks, 315 F. Supp. 3d

at 951. The exact same thing was true of the inventory in Cordis – it was a collection of physical

objects that occupied a physical space, and the space it took up was used by the business for a

business purpose (i.e. the storage of that inventory). If this were sufficient to create venue, the

question of whether the home office in which that inventory was stored established a place of

business would have been irrelevant – because the inventory alone would have been sufficient.


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       Thus, to the extent the Court is not persuaded that venue is improper under the approach

adopted in SEVEN Networks, Netflix respectfully requests that the Court reconsider its holding

that equipment constitutes a “place” under § 1400(b).

            f. If Not Dismissed, This Action Should Be Transferred to Northern California

       Where venue is improper, as it is here, the district court “shall dismiss, or if it be in the

interest of justice, transfer such case to any district or division in which it could have been

brought.” 28 U.S.C. § 1406(a). Should the Court determine that it is in the interest of justice to

transfer this case for lack of venue rather than dismissing it, Netflix requests that the Court transfer

it to the Northern District of California because – as shown in the next section – the “‘witnesses,

evidence, the underlying events, and [the defendant] are based there.’” See Moran v. Smith, No.

5:15-cv-1121-DAE, 2016 WL 4033268, at *2 (W.D. Tex. July 27, 2016) (quoting Herman v.

Cataphora, Inc., 730 F.3d 460, 466 (5th Cir. 2013)).

       B.        The Court Should Transfer for Inconvenient Venue

       To the extent the Court concludes that venue is proper in this district, it should nevertheless

transfer this case to the Northern District of California under § 1404(a).

            a.   This Case Could Have Been Brought in Northern California

       Plaintiff’s complaint acknowledges that Netflix has its principal place of business in the

Northern District of California. Dkt. No. 1 ¶ 2. This is sufficient to establish personal jurisdiction

and venue over Netflix and thus the case could have been brought in the Northern District of

California in the first instance. Adaptix, 937 F. Supp. 2d at 872.

            b. The Private Interest Factors Favor Transfer

                    i. Northern California Offers Better Access to Proof

       “Despite technological advances that certainly lighten the relative inconvenience of

transporting large amounts of documents across the country, this factor is still a part of the transfer

analysis.” Centre One v. Vonage Holdings Corp., No. 6:08-CV-467, 2010 WL 3257642, at *2

(E.D. Tex. Aug. 17, 2010). As this Court has held, “the place where the defendant’s documents

are kept weighs in favor of transfer to that location.” Realtime Data LLC v. Teradata Operations,


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Inc., No. 6:15-CV-470-RWS-JDL, 2016 WL 235183, at *2 (E.D. Tex. Jan. 20, 2016).

       The bulk of Netflix’s documents relevant to this case will be found either in Netflix’s San

Francisco-area office, or in cloud storage. Nguyen Decl. ¶ 18. While the cloud-based documents

are technically accessible from both districts, Netflix maintains potentially discoverable

information in its Northern California headquarters.      Id.   Moreover, insofar as documents,

communications, source code, or other information is necessary in this case, Netflix will need the

assistance of engineers and personnel from its Northern California office to identify the relevant

information and code and to provide the technical assistance necessary to make the code available

in a secure manner. Id.; see also PersonalWeb Techs., LLC v. NEC Corp. of Am., Inc., No. 6:11–

CV–655, 2013 WL 9600333, at *18 (E.D. Tex. Mar. 21, 2013) (“access to sources of proof” factor

favors transfer based in part on the location in which accused infringer’s source code is managed).

Thus, this factor favors transfer.

                   ii. Northern California Is More Convenient for Potential Witnesses

       The convenience and cost of attendance for witnesses is an “important factor” in the

transfer calculus. Nintendo, 589 F.3d at 1198. “When the distance between an existing venue for

trial of a matter and a proposed venue under § 1404(a) is more than 100 miles, the factor of

inconvenience to witnesses increases in direct relationship to the additional distance to be

traveled.” Volkswagen, 545 F.3d at 317.

       All of Netflix’s relevant witnesses would find trial in the Northern District of California

more convenient. In particular, Netflix identifies the following people (and topics of knowledge)

as potential witnesses who work in Northern California:




Given the number of the specifically identified witnesses from the Northern District of California,

this factor heavily favors transfer.




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                   iii. Northern California Has More Relevant Absolute Subpoena Power

        The interests of justice favor transfer where the transferee district has absolute subpoena

power over relevant witnesses. This is important to the transfer analysis, particularly where third-

party witnesses are “specifically identified.” U.S. Ethernet Innovations, LLC v. Samsung Elecs.

Co., No. 6:12-CV-398-MHS-JDL, 2013 WL 1363613, at *3 (E.D. Tex. Apr. 2, 2013).

        In this case, PMC’s complaint also makes references to the fact that StarSight and Gemstar

(now subsidiaries of TiVo) allegedly recognized the technological significance of the asserted

inventions and became PMC’s licensees as a result. Dkt. No. 1 at ¶ 28. Both StarSight and TiVo

are (and at all relevant times have been) headquartered in the Northern District of California.11

Because PMC is expressly relying on their alleged recognition, they are relevant witnesses, and

the Northern District of California has much greater subpoena power than this district. See In re

Genentech, Inc., 566 F.3d at 1345 (“The fact that the transferee venue is a venue with usable

subpoena power here weighs in favor of transfer, and not only slightly.”).

                   iv. Judicial Economy Is Neutral

        Where a plaintiff chooses to file multiple lawsuits in a district, and the defendant moves to

transfer early in the litigation, courts find the judicial economy factor neutral and grant transfer to

the more convenient forum. See Klausner Techs., Inc. v. Interactive Intelligence Grp., Inc., No.

6:11-cv-578-LED, 2012 WL 13012618, at *4 (E.D. Tex. Sept. 26, 2012) (involving over fifty

cases); Innovative Global Sys. LLC v. OnStar, LLC, No. 6:10-CV-574-LED-JDL, 2012 WL

12930885 at *6 (E.D. Tex. Feb. 14, 2012) (a “co-pending suit in its infancy . . . does not increase

the Court’s familiarity with the patents-in-suit and therefore does not implicate judicial

economy”); cf. In re Verizon Bus. Network Servs., Inc., 635 F.3d 559, 562 (Fed. Cir. 2011) (“To

interpret § 1404(a) to hold that any prior suit involving the same patent can override a compelling

showing of transfer would be inconsistent with the policies underlying § 1404(a).”).



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    Roberts Decl. ¶¶ 8-11 (noting that StarSight’s headquarters is located at 39650 Liberty St, Fremont CA
94538 and Tivo’s headquarters is at 2160 Gold St, San Jose, CA 95002).


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         Although PMC has brought suit in this district ten times (excluding the three recently filed

in March 2019), only two of the patents-in-suit were asserted in any of those cases, and the Court

has only issued two claim construction orders construing some of the terms of only one of those

patents (i.e. the ’217 Patent was partially construed in Case Nos. 2-15-cv-01754 and 2-17-cv-

00433). Thus, prior lawsuits in this Court would not significantly affect judicial economy and

should not weigh against transfer. Similarly, the presence of suits against Google and Akamai

should not weigh in favor of maintaining the suit here. To the contrary, given the uncertainty of

settlement timing, there is no reason to think that maintaining this suit in this district is likely to

result in a smaller number of claim constructions or otherwise increase judicial efficiency. See

GeoTag, Inc. v. Starbucks Corp., No. 2:10-cv-572, 2013 WL 890484, at *6 (E.D. Tex. Jan. 14,

2013) (allowing separately filed patent infringement cases to sway a venue transfer analysis would

allow plaintiffs to “manipulate venue by serially filling [sic] cases within a single district” and

“would undermine the principals [sic] underpinning transfer law and the . . . America Invents

Act”).

            c. The Public Interest Factors Favor Transfer

                     i. The Northern District of California Has a Greater Interest in This Case
         This Court has held that the district in which a defendant is headquartered, developed the

accused products, and employs a substantial number of people, has a significant local interest in

the case, enough to weigh in favor of transfer. Personalweb Techs., LLC v. Yahoo! Inc., No. 6:12–

CV–658, 2014 WL 1689046, at *8 (E.D. Tex. Feb. 12, 2014).            Similarly, where the allegations

call into question the work and reputation of a defendant’s employees, this factor weighs in favor

of transfer. In re Hoffman-La Roche Inc., 587 F.3d 1333, 1336 (Fed. Cir. 2009).

         Under these principles, this factor favors transfer. Netflix is headquartered in the Northern

District of California where it employs more than 2,500 people. Nguyen Decl. ¶ 2. That is where

the bulk of Netflix’s domestic engineering resources are located, and the accused products were

largely developed. Id. Thus, this factor favors transfer.




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                    ii. The Remaining Public Interest Factors Are Neutral

         The second public interest factor of administrative issues related to court congestion is

neutral. Although the speed with which a case can be resolved is a factor in the transfer analysis,

the speculative nature of this factor generally does not weigh in favor of or against transfer.

Optimum Power Solutions LLC v. Apple, Inc., 794 F. Supp. 2d 696, 702 (E.D. Tex. 2011).

         The third and fourth public interest factors—the familiarity of the forum with the law that

will govern the case and the avoidance of unnecessary problems of conflict of laws—are neutral

because this matter arises entirely under patent law. Both this district and the Northern District of

California are familiar with patent law, and because patent law is the same in every district in the

country, there is no conflict in the law that the two jurisdictions would apply.

    V.   Conclusion

         Netflix does not own or physically control the only servers that provide the alleged basis

for venue in this district. Venue is therefore improper, and this case should be dismissed or

transferred. But even if the Court would otherwise find that venue is proper, the case should be

transferred to the Northern District of California because that district is clearly more convenient

given the location of evidence, witnesses, and relevant subpoena power.


                                                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). All other counsel of record not deemed to have consented
to electronic service were served with a true and correct copy of the foregoing by electronic mail
on this 30th day of May, 2019.

                                                    /s/ Jennifer H. Doan           _______
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